             Case 2:13-cr-00103-KJM Document 264 Filed 04/12/16 Page 1 of 2



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 4   Telephone: (916) 422-4022
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 5
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                 )   Case No.: 2:13-cr-00103-MCE
               Plaintiff,                      )
11                                             )
          v.
                                               )   STIPULATION AND ORDER FOR
12                                             )   CONTINUANCE OF JUDGMENT AND
     Florence Francisco,                       )   SENTENCING
13                                             )
                  Defendant.                   )
14                                             )
                                               )
15
16
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17
     Judgment and Sentencing scheduled for May 5, 2016, at 9:00 a.m. is continued to May
18
     19, 2016, at 9:00 a.m. in the same courtroom. Probation has also been informed of the
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     continuance request. Defendant needs additional time to prepare for sentencing and
20
     requested a continuance.
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             Case 2:13-cr-00103-KJM Document 264 Filed 04/12/16 Page 2 of 2



 1         Todd Pickles, Assistant United States Attorney, and Thomas A. Johnson,
 2   Defendant’s attorney, agree to this continuance.
 3
 4   IT IS SO STIPULATED.
 5
     DATED: April 6, 2016                               By:   /s/ Thomas A. Johnson
 6                                                            THOMAS A. JOHNSON
                                                              Attorney for Florence Francisco
 7
 8
 9
10   DATED: April 6, 2016                                     BENJAMIN B. WAGNER
                                                              United States Attorney
11
                                                        By:   /s/ Thomas A. Johnson for
12                                                            TODD PICKLES
                                                              Assistant United States Attorney
13
           IT IS SO ORDERED.
14
15   Dated: April 11, 2016
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